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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
ALI MOORE,                                                     :
                                                               :   22-CV-10957 (LGS) (RWL)
                                    Plaintiff,                 :
                                                               :
                  - against -                                  :   Civil Case
                                                               :   Management Plan and
                                                               :   Scheduling Order
CITY OF NEW YORK, et al.,                                                           :
                                                               :
                                    Defendants. :
                                                               :
---------------------------------------------------------------X

        Unless otherwise ordered by the Court:

        1.       Initial Disclosures pursuant to Fed. R. Civ. P. 26(a)(1) will be exchanged
                 no later than April 1, 2025.

        2.       Amended Pleadings:

                 a.       No additional parties may be joined after April 30, 2025. Any motion
                          to join after this date will need to meet the good cause requirements
                          of F.R.C.P. 16.

                 b.       No amended pleadings may be filed after April 30, 2025. Any motion
                          to amend after this date will need to meet the good cause
                          requirements of F.R.C.P. 16.8.

        3.       Fact Discovery:

                 a.       All fact discovery shall be completed by September 30, 2025.

                 b.       Initial requests for production were/will be served by April 1, 2025.
                          Any subsequent requests for production must be served no later than
                          45 days prior to the discovery completion deadline.

                 c.       Initial interrogatories shall be served by April 1, 2025. Any
                          subsequent interrogatories must be served no later than 45 days
                          prior to the discovery completion deadline.

                 d.       Depositions shall be completed by September 16, 2025.


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        e.     Requests to admit shall be served by August 1, 2025.

        f.     The parties are to conduct discovery in accordance with the Federal
               Rules of Civil Procedure and the Local Rules of the Southern District
               of New York. The interim fact discovery deadlines may be altered by
               the parties on consent without application to the Court, provided that
               the parties meet the deadline for completing fact discovery.

  4.    Expert Discovery:

        a.     Expert discovery shall be completed by December 1, 2025.

        b.     By August 1, 2025, the parties shall meet and confer on a schedule
               for expert disclosures, including reports, production of underlying
               documents, and depositions, provided that (i) expert report(s) of the
               party with the burden of proof shall be due before those of the
               opposing party’s expert(s);and (ii) all expert discovery shall be
               completed by the date set forth above.

  5.    Summary Judgment Motions: No less than 30 days before a party
        intends to file a summary judgment motion, and in no event later than the
        close of discovery, the party shall notify this Court, and the District Judge,
        that it intends to move for summary judgment and, if required by the District
        Judge’s Individual Practices, request a pre-motion conference.

        If pre-motion clearance has been obtained from the District Judge where
        required, summary judgment motions must be filed no later than 30 days
        following the close of all discovery if no date was set by the District Judge
        or, if a date was set by the District Judge, in accordance with the schedule
        set by the District Judge. If no pre-motion conference is required, summary
        judgment motions must be filed no later than 30 days following the close of
        discovery.

        Any summary judgment motion must comply with the Federal Rules of Civil
        Procedure, the Local Rules of this District, and the Individual Practices of
        the District Judge to whom the case is assigned.

  6.    Pretrial Submissions: The parties shall submit a joint proposed pretrial
        order and any required accompanying submissions 30 days after decision
        on the summary judgment motion(s), or, if no summary judgment motion is
        made, 30 days after the close of all discovery.




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      7.     Trial:

             a.       All parties do not consent to a trial before a Magistrate Judge at this
                      time.

             b.       The case is to be tried to a jury.

             c.       The parties anticipate that the trial of this case will require 5 days.

      8.     The parties shall submit a joint status letter every 90 days no longer than 3
             pages.


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Dated: February 26, 2025                    SO ORDERED.


                                            _________________________________
                                            ROBERT W. LEHRBURGER
                                            UNITED STATES MAGISTRATE JUDGE

Copies transmitted this date to all counsel of record. The Clerk of Court is respectfully
requested to mail a copy of this order to the pro se Plaintiff and note service on the
docket.




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